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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

 WSOU INVESTMENTS, LLC d/b/a                    §
 BRAZOS LICENSING AND                           §
 DEVELOPMENT,                                   §       CIVIL ACTION NO. 6:20-cv-496
                                                §
        Plaintiff,                              §         JURY TRIAL DEMANDED
                                                §
 v.                                             §
                                                §
 ZTE CORPORATION, ZTE (USA)                     §
 INC., AND ZTE (TX), INC.                       §
                                                §
        Defendants.                             §

                           ORIGINAL COMPLAINT FOR PATENT
                                   INFRINGEMENT

        Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development

(“Brazos” or “Plaintiff”), by and through its attorneys, files this Complaint for Patent

Infringement against Defendants ZTE Corporation, ZTE (USA), Inc. and ZTE (TX), Inc.

(collectively “ZTE” or “Defendants”) and alleges:

                                   NATURE OF THE ACTION
       1.       This is a civil action for patent infringement arising under the Patent Laws

 of the United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.

                                          THE PARTIES
       2.       Brazos is a limited liability corporation organized and existing under the laws

 of Delaware, with its principal place of business at 605 Austin Ave, Ste 6, Waco, TX 76701.

       3.       On information and belief, Defendant Zhongxing Telecommunications

 Equipment (abbreviated as “ZTE”) Corporation is a Chinese corporation that does business

 in Texas, directly or through intermediaries, with a principal place of business at ZTE Plaza,

 Keji Road South, Hi-Tech Industrial Park, Nanshan District, Shenzhen China.



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        4.       On information and belief, Defendant ZTE (USA) Inc. is a New Jersey

 corporation that does business in Texas, directly or through intermediaries, with a principal

 place of business in business in Richardson, Texas.

        5.       On information and belief, Defendant ZTE (TX) Inc. is a Texas corporation

 that does business in Texas, directly or through intermediaries, with a principal place of

 business in business in Austin, Texas.

        6.       All of the Defendants operate under and identify with the trade name “ZTE.”

 Each of the Defendants may be referred to individually as a “ZTE Defendant” and,

 collectively, Defendants may be referred to below as “ZTE” or as the “ZTE Defendants.”

                              JURISDICTION AND VENUE
       7.        This is an action for patent infringement which arises under the Patent Laws

of the United States, in particular, 35 U.S.C. §§271, 281, 284, and 285.

       8.        This Court has jurisdiction over the subject matter of this action under 28

U.S.C. §§ 1331 and 1338(a).

       9.        This Court has specific and general personal jurisdiction over each ZTE

Defendant pursuant to due process and/or the Texas Long Arm Statute, because each ZTE

Defendant has committed acts giving rise to this action within Texas and within this judicial

district. The Court’s exercise of jurisdiction over each ZTE Defendant would not offend

traditional notions of fair play and substantial justice because ZTE has established minimum

contacts with the forum. For example, on information and belief, ZTE Defendants have

committed acts of infringement in this judicial district, by among other things, selling and

offering for sale products that infringe the asserted patent, directly or through intermediaries,

as alleged herein.




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            10.       Venue in the Western District of Texas is proper pursuant to 28 U.S.C.

    §§1391 and/or 1400(b). The ZTE Defendants have committed acts of infringement and have

    places of businesses in this District and/or are foreign entities for purpose of §1391. As non-

    limiting examples, ZTE (TX) has maintained a place of business at 7000 N MO-PAC

    EXPRESSWAY 200 AUSTIN, TX 7873; and, ZTE (USA) has maintained a place of

    business at 6500 River Place Blvd., Austin, TX 78730. ZTE Corp publication also describes

    a “research-and-development center in Austin, Texas.”1

                                 COUNT ONE - INFRINGEMENT OF
                                    U.S. PATENT NO. 7,742,534

            11.       Brazos re-alleges and incorporates by reference the preceding paragraphs

    of this Complaint.

            12.       On June 22, 2010, the United States Patent and Trademark Office duly and

    legally issued U.S. Patent No. 7,742,534 (“the ’534 Patent”), entitled “METHOD FOR

    TRANSMITTING             USER        DATA         IN     A      MULTI-CARRIERR            RADIO

    COMMUNICATION SYSTEM, AND CORRESPONDING RECEIVER.” A true and

    correct copy of the ’534 Patent is attached as Exhibit A to this Complaint.

            13.       Brazos is the owner of all rights, title, and interest in and to the ’534 Patent,

    including the right to assert all causes of action arising under the ’534 Patent and the right

    to any remedies for the infringement of the ’534 Patent.

            14.       ZTE makes, uses, sells, offers for sale, imports, and/or distributes in the

    United States, including within this judicial district, products such as, but not limited to ZTE

    products supporting LTE including but not limited to ZTE network elements such as Base

    Stations including but not limited ZXSDR BS8700, BS8800 and BS8906 and ZTE LTE



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    https://res-www.zte.com.cn/mediares/magazine/publication/tech en/pdf/201009.pdf
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       37.      Since at least the date of service of this Complaint, through its actions, ZTE

has contributed to the infringement of the ’534 Patent by having others sell, offer for sale, or

use the Accused Products throughout the United States, including within this judicial district,

with knowledge that the Accused Products infringe the ’534 Patent. The Accused Products are

especially made or adapted for infringing the ’534 Patent and have no substantial non-

infringing use. For example, in view of the preceding paragraphs, the Accused Products

contain functionality which is material to at least one claim of the ’534 Patent.

                                          JURY DEMAND
       Brazos hereby demands a jury on all issues so triable.


                                 REQUEST FOR RELIEF

        WHEREFORE, Brazos respectfully requests that the Court:

        (A)     Enter judgment that ZTE infringes one or more claims of the ’534 Patent

 literally and/or under the doctrine of equivalents;

        (B)     Enter judgment that ZTE has induced infringement and continues to induce

 infringement of one or more claims of the ’534 Patent;

        (C)     Enter judgment that ZTE has contributed to and continues to contribute to

 the infringement of one or more claims of the ’534 Patent;

        (D)     Award Brazos damages, to be paid by ZTE in an amount adequate to

 compensate Brazos for such damages, together with pre-judgment and post-judgment

 interest for the infringement by ZTE of the ’534 Patent through the date such judgment is

 entered in accordance with 35 U.S.C. §284, and increase such award by up to three times

 the amount found or assessed in accordance with 35 U.S.C. §284;


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       (E)     Declare this case exceptional pursuant to 35 U.S.C. §285; and

       (F)     Award Brazos its costs, disbursements, attorneys’ fees, and such further and

additional relief as is deemed appropriate by this Court.



Dated: June 3, 2020                         Respectfully submitted,

                                           /s/ James L. Etheridge

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                                           COUNSEL FOR PLAINTIFF




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